                     Case 3:96-cr-00317-ADC                   Document 433             Filed 04/05/06         Page 1 of 4
qAO 245D         (Rev. l2l03) Judgmentin a       Cascfor Revocations
         r       SheetI



                                             NITED STETPSDTSTruCTCOURT
                         FOR THE                                Districtof                            PUERTORICO
         LTNITEDSTATESOF                                               JUDGMENT IN A CRIMINAL CASE
                    V.                                                 (For Revocation of Probation or SupervisedRelease)



                                                                       CaseNumber:                      e6-cR-317(SEC)
                LUIS MADERA
                                                                       USM Number:                      05
                                                                       AFPD.I{ECTORRAMOS-VEGA
                                                                       Defendant's
                                                                                 Attomey
THE DEFENDAITIT:
X    admittedguilt to violationof                   one (l)                                of the term of supervision.

fJ   was found in violation of                                                        afterdenialof guilt.
The defendantis adjudicatedguilty            theseviolations:

Violation Number                                                                                             ViolationEnded
                                                                                                                213105; 2lr9l05;3I 4105;
 SpecialConditionNo.1             Fal        refrainfrom usingcontrolledsubstance.                                      2/22/06
                                  Fai        reportto USPOfor drugtesting.                                         3/3/05&4t26/05
                                  Fai        fully engagein drug heatnent asrequiredby the drug
                                             program.




      The defendantis sentenced providedin pages2 through                             of this judgment. The sentenceis imposedpursuantto
the Sentencing
             ReformAct of 1984
n    The defendanthasnot violated              tion(s)                           andis dischargedasto suchviolation(s)condition.

             It is orderedthat the           rtmustnotifv theUnitedStatesattornevfor this districtwithin 30 daysof any
changeof name. residence.or maili                                                                          imposedbv thisjudgmentare
                                             addressuntfl all fines,restitution,costi, andspecialassessments
fully-paid. If ordered to pdy restitul       r, the defendantmustirotify the c6urtaridUniied Statesattorneyof inaterialchangesin
econonuc c[cunBtances.

Defendant's Soc. Sec. No.:                                             A P R I I , 5 ,2 0 0 6
                                                                       Dateof Impositionof Judgment
Defendant'sDateof Birth:


                                                                       g 5"In^A^-6. e^""11^,
                                                                       SignatureofJudge
Defendant'sResidence
                   Address:



                                                                       SALVADORE.CASELLAS.U.S.DISTRICTCOURT
                                                                       NameandTitle of Judge


                                                                       April5.2006
Defendant'sMailing Addrcss:
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AO 245D     (Rev. 12103Judgmentin a Cri     Cascfor Revocations
            Sheet2- Irnprisonment

                                                                                                   Judgment-Page _2-     of   -J-
DEFENDANT:                  LUIS                -CASTRO
CASENUMBER:                               7 (0s)(sEc)

                                                          IMPRISONMENT

       The defendant is hereby               itted to the custodyof the United StatesBureauof Prisonsto be imprisonedfor a
totaltermof:        SIX(6)




  X The court makesthe                         recommendationsto the Bureau of Prisons:
    That defendant be                          with DRUG TREATMENT while INCARCERATED.



  x The defendantis                         to the custodyof the United StatesMarshal.

  tr The defendantshall                      to theUnited StatesMarshalfor this district:
       n a t                                   fl     a.m.    I   p.m.     on

       D     asnotifiedby the             StatesMarshal.

  tr   The defendantshall                 for serviceof sentence                          by theBureauof Prisons:
                                                               at the institutiondesignated

       tr    before2 p.m.on
       n      asnotifiedby the            StatesMarshal.

       !      asnotifiedby the              or PretrialServicesOffice.

                                                                  RETURN
I haveexecutedthisjudgmentas




       Defendant delivered on

                                                    with a certified copy of this judgment.




                                                                                                 I.JNITEDSTATESMARSHAL


                                                                         By
                                                                                              DEPUTYUNITED STATESMARSHAL
                    Case 3:96-cr-00317-ADC                 Document 433                Filed 04/05/06      Page 3 of 4
AO245D        (Rev. 12103)Judgmentin a        Casefor Revocations
              Sheet3 - Supervised

                                                                                                   Judgment-Page --l-      of       4
DEFENDANT:                 LUIS           ASTRO
CASENUMBER:                96-CR-31 (0s)(sEC)
                                                     SUPERVISEDRELEASE
Upon releasefrom imprisonment,                                          releasefor a term of : SIX (6) MONTIIS.
                                           defendantshallbe on supervised

       The defendantmust                   to the probation office in the district to which the defendantis releasedwithin 72 hours
ofreleasefrom the custodvofthe                   of Prlsons.
The defendantshall not commit               her federal,stateor local crime.
The defendantshall not          possessa controlledsubstance.The defendantshall refrain from any unlawful useofa
controlled substance.The defend shall submit to onedrug test within 15 daysof releasefrom imprisonmentand at least
two periodic drug teststherea  as determinedby the court.
Cl      The abovedrug testing                is suspended,basedon the court's determinationthat the defendantposesa low risk
        future substanceabuse.               if applicable.)
X       The defendantshall not              a lirearm, destructivedevice,or any other dangerousweapon. (Check,if applicable.)
tr      The defendantshall                in the collectionof DNA as directedby the probation officer. (Checlqif applicable.)
tr      The defendantshall register     the statesexoffenderregistration agencyin the statewhere the defendantresides,
        or is a student.as directed the probation officer. (Checlqif applicable.)
tr      The defendantshall pa              in an approvedprogram for domesticviolence. (Checlqif applicable.)
       If this judgment                   fine or restitution, it is be a condition ofsupervisedreleasethat the defendantpay in
accordancewith the Scheduleof                      sheetof thisjudgment.
           The defendantmust co             with the standard conditionsthat have been adoptedby this court as well as with any
additional conditions on the                page.
                                          ANDARD CONDITIONSOF SUPERVISION
     1 ) the defendantshall not          thejudicial distict withoutthepermissionof the courtor probationofficer;
 2)      thedefendantshallreportto        probationofficer andshallsubmita truthful andcompletewritten reportwithin thefirst five days
         of eachmonth:
 3)      the defendantshall answer              all inquiriesby the probationofficer and follow the instructionsof the probationofficer;
 4)      the defendantshall support       or her dependents
                                                         andmeetotherfamily responsibilities;
 5)      the defendant shall work            at a lawful occupation,unlessexcusedby the probation officer for schooling, baining, or other
         acceptablereasons;
 6)      the defendantshall notify       probation officer at least ten days prior to any change in residenceor employment;
 7)      the defendantshall refrain                useofalcohol andshallnotpurchase,possess,
                                           excessive                                         use,distribute,or administerany
         confolled substance  or anv               relatedto any contolled substances,
                                                                                    exceptasprescribed by a physician;
 8)      the defendant shall not           placeswherecontolled substances
                                                                         areillegally sold,used,distributed,or administered;
 e) the defendant shall not                with anypersonsengagedin criminal activity andshallnot associatewith anypersonconvicted
         ofa felony,unlessgranted          ission to do so by the probation officer;
l0) thedefendantshallpermita           ion officer to visit him or herat anytime at homeor elsewhere
                                                                                                   andshallpermitconfiscation
         of any contrabandobserved plain view of the probation officer;
t 1 ) the defendant shall notify         probation officer within seventy-twohours of being arrestedor questionedby a law enforcement
         officer:
12) thedefendantshallnot enter              anyagreementto actasan informeror a specialagentof a law enforcementagencywithoutthe
         permissionof the court;
l3) asdirectedby the              officer,the defendantshallnoti$ third partiesof risksthatmay be occasioned  bythedefendant's
         criminalrecordor personal       or characteristicsand shall permit the probation officer to makesuchnotificationsand to
         confirm the defendant's          with suchnotificationrequirement.
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AO 245D   (Rev. l2l03) Judgmentin a        Cesefor Revocations
          Sheet3A -
                                                                                Judgment-PaSe -4-    of --L-
DEFENDAITIT:   LUIS
CASE ITTTJMBER:96-CR-31 (0s)(sEc)

                              AD ITIONAL SUPERVISEDRELEASE TERMS

1. The defendantwill not                   anotherfederal,stateor local crime and shall not possess
                                                                                                  firearmsor
controlledsubstances and              mply with the standardconditionsof supervisedrelease   adoptedby this
Court.

2. The defendant shall                 ipatein a substanceabuseprogram arrangedand approvedby the U.S.
Probation Officer until du            dischargedby authorizedprogram personnelor the U.S.Probation
Officer.The defendantis               uired to contributeto the costof servicesrendered(co-payment)basedon
the ability to pay or                     of third party payments,as approvedby the Court.

3. The defendantshall p                  the U.S.ProbationOfficer accessto any financialinformationupon
request.

4. The defendantshall p                  evidenceto the U.S. Probation Officer to the effectthat incometax
returns havebeendulv                  within the Commonwealthof PuertoRico Departmentof Treasuryas
required by law.

5. The defendantshall s    his person,residence,officeor vehicleto a search,conductedby a U.S.
Probation Officer at a          time and in a reasonablemanner,basedupon reasonablesuspicion
of contrabandor evidence a violation of conditionof releaselfailure to submit to a searchmay be
groundsfor revocation;the        ant shallwarn any other residentsthat the premisesmay be subiect
to searchespursuantto this    ition.
